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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                                        DOCKET NO: 17-10281-PBS-2

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                              )
UNITED STATES OF AMERICA      )
                              )
v.                            )
                              )
MINERVA RUIZ                  )
_____________________________ )

               DEFENDANT’S PROPOSED JURY INSTRUCTIONS

I.   Conspiracy to Possess with Intent to Distribute One
     Kilogram or More of Heroin. 21 U.S.C. §846 & 21 U.S.C.
     §841(a)(1), (b)(1)(A)(i).

1.   The government must prove the following elements beyond a
     reasonable doubt:

          a.   That a conspiracy existed,
          b.   That the conspiracy involved the distribution of
               a total of one kilogram or more of heroin,
          c.   That the defendant had knowledge of the
               conspiracy,
          d.   That the defendant knowingly and voluntarily
               participated in the conspiracy, and
          e.   That at least one kilogram of heroin was
               foreseeable to the defendant.
          United States v. Pizarro, 772 F.3d 284, 294-95 (1st
          Cir. 2014).

2.   A conspiracy is an agreement between two or more persons to
     accomplish an unlawful purpose. The agreement need not be
     in express terms and may consist of a tacit, unspoken,
     understanding. United States v. Dellosantos, 649 F.3d 109,
     115 (1st Cir. 2011).

3.   To establish that the defendant belonged to and
     participated in a drug conspiracy, the government must
     prove two kinds of intent beyond a reasonable doubt: an
     intent to agree and an intent to commit the substantive
     offense. United States v. Martir, 570 F.3d 29, 39 (1st Cir.
     2009).

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4.    Mere presence or association with an alleged conspirator is
      not sufficient proof of a defendant’s participation in a
      conspiracy. United States v. Turner, 319 F.3d 716, 731 (5th
      Cir. 2003).

5.    “[P]resence at the location of a conspiracy’s activities,
      while the activities are taking place, knowing that they
      are taking place, without proof of intentional
      participation in the conspiracy, cannot support a
      conspiracy conviction.” United States v. Tran, 568 F.3d
      1156, 1165 (9th Cir. 2009) quoting United States v. Herrera-
      Gonzalez, 263 F.3d 1092, 1095 (9th Cir. 2001).

6.    The government must prove, beyond a reasonable doubt, that
      in addition to being present or knowing about a crime, the
      defendant knowingly, deliberately, and voluntarily
      associated herself with the crime in some way as a
      participant-someone who wanted the crime to be committed,
      not a mere spectator. United States v. Verdugo, 617 F.3d
      565 (1st Cir. 2010).


II.   Possession with Intent to Distribute One Kilogram or More
      of Heroin. 21 U.S.C. §841(a)(1) & (b)(1)(A)(i)

7.    The government must prove the following elements beyond a
      reasonable doubt:

           a.    That the defendant possessed a substance,
           b.    That the substance was at least one kilogram of
                 heroin,
           c.    That the defendant possessed the substance
                 knowingly and intentionally, and
           d.    The defendant had the specific intention to
                 distribute the heroin.

        United States v. Pizarro, 772 F.3d 284, 293-94 91st Cir.
        2014).

8.    A defendant may “possess” an item in one of two ways. She
      may have “actual possession” of an item or she may have
      “constructive possession” of an item. United States v.
      Esquilin-Montanez, 298 F. Supp. 3d 345, 349 (D. P.R. 2018).




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9.    “Actual possession” is a state of immediate, hands-on
      control. United States v. Esquilin-Montanez, 298 F. Supp.
      3d 345, 349 (D. P. R. 2018). A person who has direct
      physical control of an item on or around his or her person
      is in “actual possession” of it. See First Circuit Model
      Jury Instruction, §4.21.841(a)(1)(A), pg. 231.

10.   “Constructive possession” exists whenever a person,
      although not in actual possession of an item, has knowledge
      of the item coupled with the power and intention at a given
      time to exercise dominion and control over the item.
      United States v. Esquilin- Montanez, 298 F. Supp. 3d 345,
      349 (D. P. R. 2018); United States v. McLean, 409 F.3d 492,
      501 (1st Cir. 2005).

11.   A defendant’s proximity to an item is insufficient proof of
      actual or constructive possession. United States v. McLean,
      409 F.3d 492, 501 (1st Cir. 2005). Mere presence where an
      item is found is insufficient to prove a defendant’s
      knowing possession of the item beyond a reasonable doubt.
      United States v. Rodriguez-Martinez, 778 F.3d 367, 373 (1st
      Cir. 2015).

12.   Mere presence with or association with another who
      possesses an item is insufficient evidence to establish
      one’s actual or constructive possession beyond a reasonable
      doubt. United States v. McLean, 409 F.3d 492, 501 (1st Cir.
      2005).

13.   A defendant’s presence at the scene of a crime, or
      knowledge that a crime is being committed or is about to be
      committed, is not sufficient evidence to find that the
      defendant committed the crime beyond a reasonable doubt.
      United States v. Verdugo, 617 F.3d 565, 579 n. 3 (1st Cir.
      2010).

                                   By his Attorney,

                                   /s/ Joseph F. Krowski Jr., Esquire
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Dated: July 1, 2019


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                            CERTIFICATE OF SERVICE

      I, Joseph F. Krowski, Jr., Esquire, certify that I have this 28th day of
June, 2019, served a copy of the Defendant’s Proposed Jury Instructions on
the Assistant U.S. Attorney and all counsel of record by means of the Court’s
electronic filing and notification system (PACER/CM/ECF).

                              /s/ Joseph F. Krowski, Jr., Esquire
                              JOSEPH F. KROWSKI, JR., ESQUIRE




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